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 3
                                UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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                                               )
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )               Case No.: 2:13-cr-00355-GMN-CWH
                                               )
 9   vs.                                       )
                                               )               ORDER
10   GREGORY VILLEGAS, et al.,                 )
                                               )
11                     Defendant.              )
     __________________________________________)
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13          This matter is before the Court on the United States’ Motion to Re-Open Evidentiary
14   Hearing to Present Additional Testimony (#187) filed June 11, 2015. Upon review and
15   consideration,
16          IT IS HEREBY ORDERED that the United States’ Motion to Re-Open Evidentiary
17   Hearing to Present Additional Testimony (#187) is granted. A supplemental evidentiary hearing is
18   scheduled for Thursday, June 18, 2015 at 9:30 a.m. in Courtroom 3A.
19          DATED this 12th day of June, 2015.
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21                                               ______________________________________
                                                 GEORGE FOLEY, JR.
22                                               United States Magistrate Judge
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